Case 1:17-cr-00189-.]DB Document 14 Filed 02/05/18 Page 1 of 4

lN THE UNITED STATES DlSTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AIVIERICA 1 CRIMINAL NO.: 17-CR-189 (JDB)
V. :
; F I L E D
lSSAC LANIER AVANT, :
: FEB 0 5 2018
Defendant. :
Clerk. U.S. Distrlct & Bankruptcy
STATEMENT oF THE OFFENSE CUUftS for the Dlsmct Of COlumb|a

Pursuant to Fed. R. Crim. P. ll, and for purpose of the United States Sentencing
Commission Guidelines, the United States of America, by and through the United States Attomey
for the District of Columbia and the Tax Division of the Department ofJustice, and defendant Issac
Lanier Avant (the “Defendant"), with the concurrence of his attomey, agree and stipulate as
follows:

l. The Defendant was a staff member employed by the U.S. House of Representatives
since approximately 2000. Since approximately 2002, AVANT had been the Chief of Staff for a
Member of Congress. In approximately December 2006, he began an additional position for the
House Committee on Homeland Security, including Deputy Staff Director and Stafi` Director.
During this time, Defendant ISSAC LANIER AVANT resided in Alexandria and Arlington,
Virginia.

2. In May, 2005, the Defendant caused an internal Revenue Service (“IRS”) Form W~
4, Employee’s Withholding Allowance Certificate, to be filed with his employer that claimed he
was exempt from federal income taxes. Upon receipt of the Form W-4, the U.S. House of
Representatives stopped withholding federal income tax from the Defendant’s monthly payeheck.

The Defendant did not have any federal tax withheld from his paycheck from May, 2005 until the

Case 1:17-cr-00189-.]DB Document 14 Filed 02/05/18 Page 2 of 4

lRS mandated that his employer begin withholding federal tax from the Defendant in January, 2013.

3. For calendar years 2008 through 2012, the Defendant earned wages of
approximately $i 70,000 per year. For each of these years, the Defendant failed to timely file an
income tax return with the IRS.

4. in or around .ianuary 2013, the IRS sent letters to the Defendant and his employer
informing both that the employer was required to begin withholding federal income tax from the
Defendant's paycheck.

5. in or around Aprii, 2013, the IRS started to garnish the Defendant pay for
approximately $1,500 per month to repay his tax debt for tax year 2008.

6. Standard Forrn 86 (“SF-86”), entitled “Questionnaire for National Security
Positions,” is a form used by the federal government in conducting background investigations for
job applicants and employees requiring a security elearance.

7. in 2008 and again in 2013, for his position with the Committee on Homeiand
Security, the Defendant completed a SF-86 in order to receive a Top Seeret security ciearance.

8. On or about September 18, 2013, in the District of Coiumbia, in a matter within the
jurisdiction of the executive branch of the Govemment of the United States, the Defendant did
willfully and knowingly make and cause to be made a materially false, flctitious, and fraudulent
statement and representation, by responding “no” to the following question on a Questionnaire for
National Security Positions, Form SF-86: “ln the past seven (7) years have you failed to file or pay

Federal, state, or other taxes when required by law or ordinance?” The statement and representation

Case 1:17-cr-00189-.]DB Document 14 Filed 02/05/18 Page 3 of 4

were false because, as the Defendant then and there knew, he had failed to tile and pay his federal

taxes within the previous seven year period.

Respectfuily submitted,

 

 

John rston \>/

Assistant United States Attomey
555 4th Street, N.W., 5“‘ Floor
Washington, D.C. 20530

(202) 252-6886
John.Marston@usdoj.gov

 

ll€//llwléa%/MK’

Todd Eilinwood

Asst. Chief, Southern CES, Tax Div.
601 D Street, N.W.

Washington, D.C. 20579

(202) 514-5145
Todd.A.Ellinwood@usdoj.gov

Case 1:17-cr-00189-.]DB Document 14 Filed 02/05/18 Page 4 of 4

Defendant’s Acceptance
I have read this Statement of the Offense and carefully reviewed every part of it, as weil as
the lndictment which it references, with my attomey. I am fully satisfied with the legal services
provided by my attorney in connection with this Statement of the Offense and all matters relating
to it. l fully understand this Statement of the Offense and voluntarily agree to it. No threats have
been made to me, nor am l under the influence of anything that could impede my ability to
understand this Statement of the Offense fully. No agreements, promises, understandings, or

representations have been made with, to, or for me other than those set forth above.

January 10,2018 §Vo(mw~ dwight § AM\ lle\,,'lo§’

Date issac Lanier Avant
Defendant
Defense Counsei’s Aeknowledgment
l am defendant issac Lanier Avant attomey. i have reviewed every pan of this Statement
of the Offense with my client. It accurately and completely sets forth the Statement of the Offense

agreed to by the defendant and the Office of the United States Attomey for the District of Coiumbia,

. MM

Date Bar`r"y Pollack\,/Esq.

